                                NUMBER 13-16-00219-CV

                                COURT OF APPEALS

                    THIRTEENTH DISTRICT OF TEXAS

                      CORPUS CHRISTI – EDINBURG

                          IN RE FEDERAL CORPORATION


                          On Petition for Writ of Mandamus


                            MEMORANDUM OPINION
               Before Justices Benavides, Perkes and Longoria
                 Memorandum Opinion by Justice Longoria

       In this original proceeding, relator Federal Corporation (“Federal”) petitions for a

writ of mandamus to compel the trial court to withdraw its order requiring Federal to fully

respond to numerous discovery requests.1 We conditionally grant mandamus relief in

part and deny relief in part.

                                           I. BACKGROUND



       1 The respondent in this proceeding is the honorable Mario E. Ramirez, presiding judge of the
332nd District Court of Hidalgo County.
        Real party in interest Jose Eduardo Gonzalez (“Gonzalez”) became quadriplegic

as a result of a vehicle rollover accident caused by a tire failure that allegedly resulted

from a tread separation. Following the accident, Gonzalez brought suit against multiple

defendants for negligence and strict product liability.               Relevant to this proceeding,

Gonzalez alleged that Federal designed, manufactured, and shipped the tire which

caused the accident.

        Federal, a corporation based in Taiwan, responded with a special appearance

asserting that the trial court lacked personal jurisdiction. See TEX. R. CIV. P. 120a.

Gonzalez then propounded over 100 separate discovery requests pursuant to Federal’s

special appearance. For purposes of this proceeding, we follow Federal in dividing the

requests into three groups: requests which seek information regarding Federal’s activities

in Texas; requests which seek information regarding the same activities in the states of

the United States other than Texas; and requests which seek information related to the

merits of the case. Federal answered the first set of requests but objected to the second

and third sets on the ground they were calculated to produce information irrelevant to the

special appearance.2

        Gonzalez filed a motion seeking to compel Federal to fully respond to discovery.

Following a hearing at which both parties were represented by counsel, the trial court

granted the motion in an order which also limited the geographic scope of the second set

of requests to Texas and Mississippi.




        2 Some of the requests in the first and second group overlap, such as when a subpart of a request

seeks information regarding a certain type of Federal’s activities in Texas and a second subpart seeks
information on the same type of activity in the entire United States except for Texas. When that occurs, we
count the subparts as separate discovery requests.

                                                    2
        This original proceeding ensued.3                 This Court stayed the trial court’s order

compelling discovery and requested a response. This Court received a response from

Gonzalez and a reply to the response from Federal.

                            II. STANDARD OF REVIEW AND APPLICABLE LAW

        A. Mandamus Standard

        To be entitled to the extraordinary relief of the writ of mandamus, the relator must

show both that (1) the trial court abused its discretion and (2) there is no adequate remedy

by appeal. In re Prudential Ins. Co. of Am., 148 S.W.3d 124, 135–36 (Tex. 2004) (orig.

proceeding). The relator has the burden of establishing both prerequisites to mandamus

relief, and this burden is a heavy one. In re CSX Corp., 124 S.W.3d 149, 151 (Tex. 2003)

(orig. proceeding). A trial court abuses its discretion if it reaches a decision so arbitrary

and unreasonable that it amounts to a clear and prejudicial error of law or if it clearly fails

to correctly analyze or apply the law. In re Olshan Found. Repair Co., 328 S.W.3d 883,

888 (Tex. 2010) (orig. proceeding).

        B. Scope of Discovery

        The Texas Rules of Civil Procedure provide a right to discovery “of any matter that

is not privileged and is relevant to the subject matter of the pending action.” TEX. R. CIV.

P. 192.3(a). We broadly construe the phrase “relevant to the subject matter” to afford

litigants “the fullest knowledge of the facts and issues prior to trial.” Ford Motor Co. v.

Castillo, 279 S.W.3d 656, 664 (Tex. 2009).                   The Texas Rules of Evidence define




        3 The trial court’s order compelling discovery specifically limited the geographic reach of the
discovery requests to Texas and Mississippi, but neither party has addressed that restriction in its briefing.
We will address the discovery requests as they have been presented to us.

                                                      3
“relevant” evidence as that which makes a fact of consequence to the action more or less

likely than it would be without the evidence. TEX. R. EVID. 401.

       The scope of discovery is generally within the trial court’s discretion, but the trial

court must attempt to impose reasonable discovery limits.          In re Graco Children's

Products, Inc., 210 S.W.3d 598, 600 (Tex. 2006) (orig. proceeding) (per curiam). While

the scope of discovery is broad, permissible discovery requests “must show a reasonable

expectation of obtaining information that will aid the dispute’s resolution.” In re CSX

Corp., 124 S.W.3d at 152 (citing In re Am. Optical Corp., 988 S.W.2d 711, 713 (Tex.

1998) (orig. proceeding)). However, a request is not overbroad merely because it may

call for some information of doubtful relevance. In re Nat’l Lloyds Ins. Co., 449 S.W.3d

486, 488 (Tex. 2014) (orig. proceeding) (per curiam).         A “central consideration” in

determining overbreadth is whether the request could have been more narrowly tailored

to avoid including irrelevant information but still obtain necessary, pertinent information.

In re Allstate County Mut. Ins. Co., 227 S.W.3d 667, 669 (Tex. 2007) (orig. proceeding).

                    III. INFORMATION RELEVANT TO A SPECIAL APPEARANCE

       Federal argues in its first issue that the second grouping of requests are overbroad

because they are calculated to disclose information regarding its contacts with states

other than Texas. According to Federal, such information is irrelevant because it does

not make any fact germane to the special appearance more or less likely. Resolving this

issue requires us to first discuss relevancy in the context of discovery and how it applies

to a special appearance.

   A. Law Applicable to a Special Appearance




                                             4
       Texas Rule of Civil Procedure 120a provides that any party may file a special

appearance “for the purpose of objecting to the jurisdiction of the court over the person

or property of the defendant on the ground that such party or property is not amenable to

process issued by the courts of this State.” TEX. R. CIV. P. 120a(1). The party bringing

the special appearance is entitled to have it heard and decided before any other pleading.

See id. R. 120a(2). A court should not reach the merits of the case when deciding a

special appearance. Phillips Dev. &amp; Realty, LLC v. LJA Eng'g, Inc., No. 14-14-00858-CV,

___S.W.3d ___, ___, 2016 WL 3610457, at *3 (Tex. App.—Houston [14th Dist.] June 30,

2016, no pet. h.). Rule 120a specifically provides for jurisdictional discovery, see id. R.

120a(3), but discovery “is limited to matters directly relevant to the issue” of jurisdiction.

In re Doe, 444 S.W.3d 603, 608 (Tex. 2014) (orig. proceeding).

       Two issues are relevant to whether Texas courts may exercise personal

jurisdiction over a defendant: (1) the Texas long arm statute must authorize jurisdiction;

and (2) the exercise of jurisdiction must comply with federal and state constitutional

guarantees of due process. Searcy v. Parex Res., Inc., No. 14-0293, ___ S.W.3d ___,

___, 2016 WL 3418248, at *5 (Tex. June 17, 2016). Because the long arm statute

“provides for personal jurisdiction that extends to the limits of the United States

Constitution,” Texas courts address only whether federal due process requirements

permit the exercise of jurisdiction. See id.
       Whether jurisdiction complies with due process depends on two factors: (1) the

defendant must have established minimum contacts with the forum state; and (2) the

assertion of jurisdiction must not offend “traditional notions of fair play and substantial

justice.” TV Azteca v. Ruiz, 490 S.W.3d 29, 36 (Tex. 2016) (citing Int'l Shoe Co. v. Wash.,



                                               5
326 U.S. 310, 316 (1945)). As relevant to our analysis in this case, sufficient minimum

contacts exist when the defendant “purposefully avails itself of the privilege of conducting

activities within the forum [s]tate, thus invoking the benefits and protections of its laws.”

Hanson v. Denckla, 357 U.S. 235, 253 (1958). The purposeful-availment analysis looks

to “contacts that the defendant ‘purposefully directed’ into the forum state” rather than

“random, fortuitous, isolated, or attenuated” connections with the forum. Searcy, ___

S.W.3d at ___, 2016 WL 3418248, at *5.

       Minimum contacts can create two forms of jurisdiction: specific and general.

Specific jurisdiction exists when the plaintiff’s cause of action “arises from or relates to

the defendant’s contacts” with the forum state. Cornerstone Healthcare Group Holding,

Inc. v. Nautic Mgmt. VI, L.P., No. 14-0538, ___ S.W.3d ___, ___, 2016 WL 3382159, at

*4 (Tex. June 17, 2016). The specific-jurisdiction analysis focuses “on the relationship

among the defendant, the forum[,] and the litigation.”       Id. (internal quotation marks

omitted, brackets in the original). General jurisdiction, by contrast, exists when the

defendant’s “affiliations with the [forum] State are so ‘continuous and systematic’ as to

render [it] essentially at home in the forum State.” Goodyear Dunlop Tires Operations,

S.A. v. Brown, 564 U.S. 915, 919 (2011).         A court with general jurisdiction over a

defendant may decide a case even if the plaintiff’s cause of action did not arise from the

defendant’s contacts with the forum. TV Azteca, 490 S.W.3d at 37. The effect of the

minimum contacts analysis is that a state may exercise jurisdiction over a nonresident

defendant only when its “conduct and connection to a forum are such that it could

reasonably anticipate being haled into court there.” Moncrief Oil Intern. Inc. v. OAO

Gazprom, 414 S.W.3d 142, 152 (Tex. 2013).



                                             6
       Even when a defendant has established minimum contacts with a state, due

process permits state courts to assert jurisdiction only if it is consistent with “traditional

notions of fair play and substantial justice.” TV Azteca, 490 S.W.3d at 55. If a defendant

has purposefully availed itself of the privilege of conducting business in the forum state,

subjecting that defendant to the forum state’s courts will typically not offend due process.

Id. Nevertheless, courts consider several factors to evaluate whether the assertion of

jurisdiction by a forum is fair and just: (1) the burden on the defendant litigating the

dispute in the forum; (2) the forum state’s interest in litigating the dispute; (3) the plaintiff’s

interest “in obtaining convenient and effective relief”; (4) the interest of the interstate or

international judicial system in obtaining the most efficient resolution of controversies; and

(5) “the shared interest of the several nations or states in furthering fundamental

substantive social policies.” Spir Star AG v. Kimich, 310 S.W.3d 868, 879 (Tex. 2010).

       The summary of the law of personal jurisdiction in the preceding paragraphs is

necessarily overly general, but we conclude from it that information “directly relevant” to

a special appearance would make it more or less likely that the defendant (1) purposefully

availed itself of the privilege of conducting activities in the forum, or (2) has contacts with

the forum which are sufficiently “continuous and systematic” to create jurisdiction.

Relevant information also includes that which makes one of the factors for determining

whether the exercise of jurisdiction offends traditional notions of fair play and substantial

justice more or less likely. See In re Doe, 444 S.W.3d at 608; see also TEX. R. CIV. P.

192.3(a).

   B. Are an International Defendant’s Contacts with Another State Relevant?




                                                7
        In Walden v. Fiore, the United States Supreme Court addressed a lower court’s

conclusion that Nevada courts could exercise personal jurisdiction over a nonresident

defendant who committed a tort in a different state against residents of Nevada. ___ U.S.

___, ___, 134 S. Ct. 1115, 1120 (2014).4 The lower court reasoned that even though the

victims of the tort were outside of Nevada at the time, personal jurisdiction was

permissible because the defendant knew that the persons had a “significant connection”

to Nevada. Id. A unanimous Court rejected the lower court’s conclusion and reiterated

that the minimum-contacts analysis “focuses on the relationship among the defendant,

the forum, and the litigation.” Id. at 1121. The Court clarified that it is the defendant’s

contacts “with the forum State itself, not the defendant’s contacts with the people who

reside there,” which are relevant. Id. at 1122 (emphasis added). While Walden involved

tort-based jurisdiction, the personal jurisdiction analysis in general focuses on the

defendant’s contacts with the forum state itself rather than with other locations. See id.
        The lesson we draw from Walden is consistent with what a plurality of the Court

wrote in J. McIntyre Mach., Ltd. v. Nicastro. 564 U.S. 873, 878–79 (2011) (plurality op.).

The issue in Nicastro was whether New Jersey courts could exercise personal jurisdiction

over an English manufacturer of a product which allegedly harmed a resident of New

Jersey. Id. After summarizing the due process requirements for personal jurisdiction, a

four-justice plurality observed that implicit in the law of personal jurisdiction is the principle

that




         4 Walden v. Fiore involved a suit brought originally in federal rather than state court. ___ U.S. ___,

___, 134 S. Ct. 1115, 1120 (2014). The Court’s analysis is applicable to this case because “a federal district
court's authority to assert personal jurisdiction in many cases” is determined by whether the defendant is
subject to service of process in a court of general jurisdiction in the state in which the court is located. Id.at 1121 (citing FED. R. CIV. P. 4(k)(1)(A)).

                                                       8
        personal jurisdiction requires a forum-by-forum, or sovereign-by-sovereign,
        analysis. The question is whether a defendant has followed a course of
        conduct directed at the society or economy existing within the jurisdiction of
        a given sovereign, so that the sovereign has the power to subject the
        defendant to judgment concerning that conduct.

Id. at 884 (emphasis added). In other words, personal jurisdiction arises from contacts

directed at the society within the jurisdiction of the forum state. See id. Whether the

defendant directed contacts elsewhere is not part of the analysis. 5                        See id. at 886

(observing that it is the nonresident’s “purposeful contacts with New Jersey, not with the

United States, that alone are relevant” to the analysis); see also Hanson, 357 U.S. at 253.

        Walden and Nicastro are consistent with cases from the Supreme Court of Texas

on personal jurisdiction. In Searcy, for example, the court held that there was no general

jurisdiction over a Canadian corporation because it had “no bank accounts, offices,

property, employees, or agents in Texas” and had “not interacted with Texas” aside from

its dealings with one of the parties to the case. ___ S.W.3d at ___, 2016 WL 3418248,

at *9. Texas courts could not exercise specific jurisdiction either because the Canadian

defendant “did not specifically seek out a Texas seller or Texas assets, let alone attempt[

] to meddle with a contract governed by Texas law or develop a Texas business.” Id. The

analysis employed by the Supreme Court of Texas in Searcy is consistent with our

analysis: evaluating the defendant’s contacts with the forum without considering the

defendant’s contacts directed at other locations. See id.

        5 While J. McIntyre Mach., Ltd. v. Nicastro was a plurality, the concurring opinion did not disagree
that the proper personal jurisdiction analysis is focused on the defendant’s contacts with the forum rather
than other locations. See 564 U.S. 873, 891 (2011) (Breyer, J., concurring, joined by Alito, J.) (citing Shaffer
v. Heitner, 433 U.S. 186, 204 (1977)). In fact, the concurring justices agreed that the opinion of the court
below should be overturned because it departed from the “accepted inquiry of whether, focusing upon the
relationship between ‘the defendant, the forum, and the litigation,’ it is fair, in light of the defendant's
contacts with that forum, to subject the defendant to suit there.” Id. The concurrence’s disagreement was
with the “strict rules” favored by the plurality regarding jurisdiction when the defendant did not intend to
submit to the sovereign. See id. at 890.

                                                       9
       Gonzalez argues that Federal’s location outside of the United States is a significant

difference which makes Federal’s contacts with other states relevant to the second prong

of the analysis. Gonzalez interprets Asahi Metal Industries Co., Ltd. v. Superior Court of

California, Solano County as requiring him to show that any American court could

exercise jurisdiction over Federal. 480 U.S. 102, 114 (1987). Gonzalez reads Asahi too

broadly. The Court in Asahi held that the “unique burdens placed upon one who must

defend oneself in a foreign legal system” must be accorded “significant weight” in the

personal-jurisdiction analysis, but the Court gave no indication that it altered the forum-

centered nature of the analysis by that language. See id. The Court went on to analyze

the burden on Asahi, a Taiwanese corporation, in litigating the case specifically in

California, and also considered the interests of California in having the dispute litigated

there. Id. at 114–15. The Court made no mention of the interest of the United States as

a whole or whether other states would be able to exercise jurisdiction over Asahi. See

id.; see also Guardian Royal Exch. Assur., Ltd. v. English China Clays, P.L.C., 815

S.W.2d 223, 229 (Tex. 1991) (citing the same part of Asahi as instructing courts to give

more weight to the international status of the defendant). We reject Gonzalez’s argument

that is based on Asahi.

       Applying the lessons of Walden, Nicastro, and relevant Texas case law, we agree

with Federal that its contacts with states other than the forum are not relevant to its special

appearance. See In re Doe, 444 S.W.3d at 608. Information on the defendant’s activities

directed at a location other than the forum do not make it any more or less likely that the

defendant purposefully directed contacts at the forum. See TEX. R. EVID. 401. Therefore,

discovery requests which are not reasonably tailored to disclose only the defendant’s



                                              10
activities directed at the forum are overbroad. See In re Nat'l Lloyds Ins. Co., 449 S.W.3d

at 488 (holding that discovery requests must be “reasonably tailored to include only

matters relevant to the case”).

       We stress that we do not mean that only contacts inside the geographic boundaries

of the forum are relevant to a special appearance. Activities which take place outside of

the boundaries of the forum but which are purposefully directed towards it can support

jurisdiction. See World Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)

(holding that when the sale of a product in the forum by a nonresident defendant “is not

simply an isolated occurrence, but arises from the efforts of the manufacturer or distributor

to serve directly or indirectly, the market for its product” in the forum state, the forum’s

court may properly assert jurisdiction); see also Moki Mac River Expeditions v. Drugg,

221 S.W.3d 569, 577 (Tex. 2007) (observing that “the mere sale of a product to a Texas

resident will not generally suffice to confer specific jurisdiction upon our courts” but noting

that “the facts alleged must indicate that the seller intended to serve the Texas market”).

Put more simply, it is not necessary that activity which is purposefully directed towards a

forum take place inside of it.

   C. Application to Specific Discovery Requests

       We now apply our conclusion to the specific discovery requests challenged by

Federal in the second grouping—those requests which seeks information regarding

Federal’s contacts with locations other than Texas.

              1. Requests Which Seek Information Regarding Federal’s Activities
                 in States Other than Texas

       This group of requests encompasses interrogatories 3(a), 16, 18(a), 18(b), 19(a),

19(b), 20(a), 20(b), and 21, and requests for production 2(c), 5(b), 6, 7(a)–(d)(ii), 7(e)(ii),

                                              11
7(f)-(i), 11, 13(b), and 13(d). We agree that this group of requests is overbroad because

information on Federal’s activities which are not directed at Texas is not “directly relevant”

to the subject matter of its special appearance. See In re Doe, 444 S.W.3d at 608.

Furthermore, each request in this group is written to disclose a broad swath of information

and could easily have been more narrowly tailored to focus on Texas-directed contacts.6

See Hernandez v. Abraham, Watkins, Nichols, Sorrels &amp; Friend, 451 S.W.3d 58, 68 (Tex.

App.—Houston [14th Dist.] 2014, pet. denied) (holding that discovery requests were

overbroad in part because the requests “were not, but could have been, more narrowly

tailored to the dispute at hand”). We conclude that the trial court abused its discretion to

the extent it directed Federal to respond to the first subset of discovery requests. See In

re Graco Children's Products, Inc., 210 S.W.3d at 600.

                2. Requests Seeking Federal’s Compliance with United States Laws
                   and Regulations

        The second subset of requests encompasses requests for admission 4, 6, 8, 10,

and 24; interrogatories 11 and 13; and requests for production 8, 9, 20(a), and 20(b). The

requests in this subset seek (1) information on Federal’s compliance with United States

safety laws and regulations when manufacturing the brand of tire which caused the

accident; (2) information on whether Federal complied with other applicable federal

legislation, such as the reporting requirements of the TREAD Act7; and (3) any trademarks

or patents held by Federal or for its benefit in the United States applicable to the tire.




        6 We note that the parties did not address whether any specific discovery request in this subset of

discovery could have been more narrowly tailored. Instead, they addressed all of the requests in this subset
as one group. We do the same.
        7See Transportation, Recall Enhancement, Accountability, and Documentary (TREAD) Act, P.L.
106-414, 114 Stat. 26 (codified in scattered sections of 49 U.S.C. Pt. A, Ch. 301).

                                                    12
Federal argues that this group of requests is similar to those we addressed in the first

group because the requests in the second group seek irrelevant information on Federal’s

contacts with states other than Texas. Gonzalez responds that the information sought by

these requests is relevant because it could make it more likely that Federal sought to avail

itself of the American market, which includes Texas.

       We agree with Gonzalez.        If Federal complied with United States laws and

regulations applicable to its products, or if it used American trademark and patent laws to

protect their design and appearance, it makes it more likely that Federal sought to

purposefully serve the American market it in some way. See Searcy, ___ S.W.3d at ___,

2016 WL 3418248, at *5. We agree with Federal that its compliance with these laws

could but does not necessarily mean it specifically intended to serve the Texas market,

but that is precisely the distinction between the first and second set of requests. The first

set of requests sought information on Federal’s business activities in states of the United

States other than Texas. A request for such information could be tailored to focus on

activities in a particular state, but the federal laws referenced in the second subset of

requests apply uniformly across the United States. See, e.g., 49 U.S.C. § 30112(a)(1)

(West, Westlaw through P.L. 114–181) (excluding vehicles which do not comply with

motor vehicle safety standards from interstate commerce subject to statutory exceptions).

Federal would be required to comply with these laws whether it sought to serve the Texas

market or solely the market of another state. See id.; see also id. § 30103(b) (West,

Westlaw through P.L. 114–181) (preempting state laws that impose inconsistent safety

regulations). Because this second group of requests seeks relevant information but could

not be more narrowly tailored, we conclude that Federal has not met its burden to



                                             13
demonstrate its entitlement to mandamus relief on this subset of requests. We hold the

trial court did not abuse its discretion in compelling Federal to respond to requests for

admission 4, 6, 8, 10, and 24; interrogatories 11 and 13; and requests for production 8,

9, 20(a), and 20(b).

                3. Request for Production 2(a).

        In this request, Gonzalez sought Federal’s communications with eleven

specifically-named tire distributors. One of the distributors is located in Mississippi and

the remainder in various cities in Texas.               We agree with Gonzalez that Federal’s

communications, if any, with the Texas distributors listed in request 2(a) are relevant to

the personal jurisdiction analysis because they could make it more or less likely that

Federal deliberately did business with Texas residents. See Moki Mac, 221 S.W.3d at

577 (stating that evidence of a sale to a Texas resident cannot support jurisdiction without

additional evidence of the seller’s intent to serve the forum market). We also agree that

Federal’s contacts with the Mississippi distributor, Dunlap &amp; Kyle, are relevant. Federal’s

counsel admitted during the hearing on the motion to compel that “[w]e’ve already

admitted and provided information that says we sell tires to Dunlap &amp; Kyle in Mississippi

and at their request have and continue to ship tires into the state of Texas.” Federal’s

communications with Dunlap &amp; Kyle could show whether Federal intended to serve the

Texas market by selling its tires to Dunlap &amp; Kyle. See id. We agree with Gonzalez that

Federal has not met its burden to demonstrate mandamus relief as to this discovery

request.8 See In re CSX Corp., 124 S.W.3d at 151. The trial court therefore did not abuse

its discretion in compelling Federal to respond to Request for Production 2(a).


        8Federal’s brief on appeal states that it objected on relevancy grounds to Request for Production
2(b). Request 2(b) seeks Federal’s communications “with sellers, dealers, and distributors, or prospective

                                                   14
    D. Summary

        In summary, we hold that Federal has demonstrated its entitlement to mandamus

relief on interrogatories 3(a), 16, 18(a), (b), 19(a), 19(b), 20(a), 20(b), and 21, and

requests for production 2(c), 5(b), 6, 7(a)-(d)(ii), 7(e)(ii), 7(f)-(i), 11, 13(b), and 13(d).

Federal has not shown its entitlement to mandamus relief on requests for admission 4, 6,

8, 10, and 24; interrogatories 11 and 13; and requests for production 2(a), 2(b), 8, 9,

20(a), and 20(b). We sustain Federal’s first issue in part and overrule it in part.

                                            IV. MERITS DISCOVERY

        Federal argues in its second issue that the trial court abused its discretion by

ordering it to respond to discovery requests which sought information relevant only to the

merits of the underlying case.             This group of requests encompasses requests for

disclosure A–L, requests for admission 15, 16, 20–23, and 39; interrogatories 9, 12, and

14; and requests for production 1(b), 3(iii), 3(iv), 4, 10, 14–19, and 21.

        A. Requests for Admission, Requests for Production, and Interrogatories

        We agree with Federal that discovery relevant to the merits of the case is not

permitted because it is not relevant to the special appearance. See In re Doe, 444 S.W.3d

at 608; see also Nationwide Distrib. Servs., Inc. v. Jones, No. 01-15-00232-CV, ___




sellers, prospective dealers, and prospective distributors, in the state of Texas” during the relevant time
period. However, Federal specifically objected in the trial court only to 2(c). Objections to written discovery
must be in writing and state the specific legal and factual basis for the request. See TEX. R. CIV. P. 193.2(a).
Failure to do so may result in waiver unless the court excuses the waiver for good cause shown. See id.R. 193.2(e); see also In re Summersett, 438 S.W.3d 74, 80 (Tex. App.—Corpus Christi 2013 [mand.
denied], orig. proceeding).

         The parties disagree regarding whether a general objection Federal lodged at the beginning of its
discovery responses preserved error. Assuming without deciding that Federal properly preserved its
relevancy objection, we overrule it. The information sought by request for production 2(b) is directly relevant
to whether Federal had purposeful contacts with Texas. See In re Doe, 444 S.W.3d 603, 608 (Tex. 2014)
(orig. proceeding).

                                                      15
S.W.3d ___, ___, 2016 WL 3221071, at *6 (Tex. App.—Houston [1st Dist.] June 9, 2016,

no pet.) (“Merits-based discovery should not be compelled from a specially appearing

defendant before ruling on the jurisdictional challenge.”); In re Stern, 321 S.W.3d 828,

839–40 (Tex. App.—Houston [1st Dist.] 2010, orig. proceeding) (op. on reh’g) (reaching

the same conclusion). Gonzalez nevertheless argues that much of the information he

requested in this third group of discovery requests is actually relevant to the special

appearance. He asserts that he has a right to discovery on whether Federal maintains

warranty and adjustment data for the subject tire, and whether Federal has a procedure

for processing warranty claims from Texas, because that information is relevant to

determining whether Federal maintains regular channels for interacting with customers in

Texas.   See Spir Star, 310 S.W.3d at 873 (holding that “establishing channels for

providing regular advice to customers in the forum State” can serve as the necessary

evidence to demonstrate that a nonresident seller intended to serve the Texas market).

      We disagree with Gonzalez.         As we explained in greater detail above, a

defendant’s contacts are relevant to the personal-jurisdiction analysis if they are

“‘purposefully directed’ into the forum state.” Searcy, ___ S.W.3d at ___, 2016 WL

3418248, at *5. That Federal has channels for processing warranty claims and returns

from persons in Texas is probative that Federal did business with persons who happened

to be Texas residents at the time of the warranty claims. Without more, information on

that matter is not probative that Federal purposefully targeted Texas itself. See Walden,

134 S. Ct. at 1122 (observing that the personal jurisdiction analysis looks to “the

defendant's contacts with the forum State itself, not the defendant's contacts with persons

who reside there”); see also Searcy, ___ S.W.3d at ___, 2016 WL 3418248, at *5.



                                            16
Authorizing discovery of information regarding other defective tires unrelated to the

underlying lawsuit would condone the sort of overbroad “impermissible fishing expedition”

into unrelated matters prohibited by the Supreme Court of Texas. See, e.g., In re Am.

Optical Corp., 988 S.W.2d at 713 (holding that an order requiring the defendant to

produce all documents it created in a fifty-year period relating to asbestos was overbroad

as a matter of law); Dillard Dept. Stores, Inc. v. Hall, 909 S.W.2d 491, 492 (Tex. 1995)

(orig. proceeding) (per curiam) (refusing, in a false arrest case, to authorize discovery

regarding similar claims against store locations owned by the defendant in twenty states).

We reject Gonzalez’s argument and conclude the trial court abused its discretion in

compelling Federal to respond to the above discovery requests. We conclude that

Federal has demonstrated its entitlement to mandamus relief regarding requests for

admission 15, 16, 20–23, and 39; interrogatories 9, 12, and 14; and requests for

production 1(b), 3(iii), 3(iv), 4, 10, 14–19, and 21.

       B. Requests for Disclosure

       Gonzalez served twelve requests for disclosure on Federal, which sought

disclosure of all of the matters that Rule 194.2 makes subject to disclosure. See TEX. R.

CIV. P. 194.1, 194.2. Federal objected to the requests for disclosure on the basis that

they sought information relevant to the merits and irrelevant to the special appearance.

However, Rule 194.5 provides that “[n]o objection or assertion of work product is

permitted to a request under this rule.” Id. R. 194.5. The Rules of Civil Procedure have

the same force and effect as statutes and should be construed in a similar manner. In re

Dana Corp., 138 S.W.3d 298, 302 (Tex. 2004) (orig. proceeding). The plain language of

the rule provides that no objections to requests for disclosure are permitted, and Federal



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has not explained what other considerations should persuade us not to follow the plain

meaning of the language of the rule. See Simulis, L.L.C. v. G.E. Capital Corp., 276

S.W.3d 109, 113 (Tex. App.—Houston [1st Dist.] 2008, no pet.) (observing that courts

should attempt to enforce the plain language of a rule absent countervailing

considerations). Even though we acknowledge that requests for disclosure B-L would

require responses that would arguably be overbroad at this stage of the case, the rules

provide that the proper remedy is to seek a protective order pursuant to Texas Rule of

Civil Procedure 192.6. See TEX. R. CIV. P. 194 cmt. 1; In re Univar USA, Inc., 311 S.W.3d

175, 180 (Tex. App.—Beaumont 2010, orig. proceeding) (observing that while objections

to requests for disclosure are not permitted, “a party is allowed to file a motion for a

protective order pursuant to Rule 192.6”); see also In re DCP Midstream, L.P., No. 13-

14-00502-CV, 2014 WL 5019947, at *8 (Tex. App.—Corpus Christi Oct. 7, 2014, orig.

proceeding) (mem. op.) (making the same observation). Because no objections are

permitted to requests for disclosure, and Federal did not ask for a protective order or give

the trial judge an opportunity to address such a request, we hold that Federal has not

carried its burden of demonstrating its entitlement to mandamus relief. See TEX. R. CIV.

P. 194.5; see also In re CSX Corp., 124 S.W.3d at 151. The trial court did not abuse its

discretion regarding the requests for disclosure because Federal did not seek the

appropriate relief from the burden of responding to some of the requests.

       C. Summary

       In summary, we hold that Federal has demonstrated its entitlement to mandamus

relief regarding requests for admission 15, 16, 20–23, and 39; interrogatories 9, 12, and

14; and requests for production 1(b), 3(iii), 3(iv), 4, 10, 14–19, and 21. Federal has not



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demonstrated its entitlement to mandamus relief regarding any of the requests for

disclosure. We overrule Federal’s second issue in part and sustain it in part.

                                 V. ADEQUATE REMEDY BY APPEAL

       We have concluded that Federal meets the first element of entitlement to

mandamus relief because the trial court’s order compels it to respond to some discovery

requests which are overbroad. See In re Graco Children's Products, Inc., 210 S.W.3d at

600 (holding that an order that compels discovery outside the bounds permitted by the

rules is an abuse of discretion). We now turn to the second prong of the test, which looks

to whether Federal has an adequate remedy by appeal. See In re Prudential Ins. Co. of

Am., 148 S.W.3d at 135–36. An order that compels discovery outside the bounds

permitted by rules is an abuse of discretion for which mandamus is the proper remedy.

In re Graco Children's Products, Inc., 210 S.W.3d at 600; see In re Stern, 321 S.W.3d at

843 (granting mandamus relief in a similar context because certain requests for

production were “not narrowly tailored to avoid inclusion of tenuous information irrelevant

to the establishment of jurisdiction, and they are thus overbroad”). We hold that Federal

has met the second prong of the test for mandamus relief except with regard to the

requests for disclosure and requests for admission 4, 6, 8, 10, and 24; interrogatories 11

and 13; and requests for production 2(a), 2(b), 8, 9, 20(a), and 20(b).

                                           VI. CONCLUSION

       We conditionally grant mandamus relief in part and direct the trial court to withdraw

its order regarding: requests for admission 15, 16, 20–23, and 39; interrogatories 3(a),

9, 12, 14, 16, 18(a), 18(b), 19(a), 19(b), 20(a), 20(b), and 21, and requests for production

1(b), 2(c), 3(iii), 3(iv), 4, 5(b), 6, 7(a)-(d)(ii), 7(e)(ii), 7(f)-(i), 10, 11, 13(b), 13(d), 14–19,



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and 21. We deny mandamus relief as to the other discovery requests. The writ will issue

only if the trial court refuses to comply. Further, we lift the stay imposed by our order of

April 15, 2016.

                                                 NORA L. LONGORIA
                                                 Justice


Delivered and filed the
1st day of September, 2016.




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